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                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,               )            4:06CR3023
                                        )
                    Plaintiff,          )
                                        )            MEMORANDUM
      vs.                               )            AND ORDER
                                        )
SHAWN TULL,                             )
                                        )
                    Defendant.          )

       This matter is before the court upon Defendant’s Notice of Appeal (filing 166)
and Motion for Leave to Appeal In Forma Pauperis (filing 167). In support of his
motions, the defendant has submitted an affidavit showing the defendant’s inability
to pay or to give security for fees and costs, as well as documents claiming an
entitlement to redress and stating the issues that the defendant intends to present on
appeal. (Filings 166 & 167.) See Fed. R. App. P. 24(a). I shall grant the defendant’s
Motion for Leave to Appeal In Forma Pauperis, and the defendant may proceed on
appeal without prepayment of fees or costs or the giving of security therefor.

      IT IS ORDERED:

       1.   Defendant’s Motion for Leave to Appeal In Forma Pauperis (filing 167)
is granted;

      2.     Defendant may proceed on appeal without prepayment of fees or costs;

       3.    The Clerk of the United States District Court for the District of Nebraska
shall process Defendant’s appeal.
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     December 3, 2007.

                                            BY THE COURT:
                                            s/ Richard G. Kopf
                                            United States District Judge




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